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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CABLE NEWS NETWORK, INC. and ABILIO
 JAMES ACOSTA,


                Plaintiffs,

      v.

 DONALD J. TRUMP, in his official capacity as
 President of the United States; JOHN F. KELLY, in
 his official capacity as Chief of Staff to the President
 of the United States; WILLIAM SHINE, in his
 official capacity as Deputy Chief of Staff to the            Case No.
 President of the United States; SARAH HUCKABEE
 SANDERS, in her official capacity as Press Secretary
 to the President of the United States; the UNITED
 STATES SECRET SERVICE; RANDOLPH D.
 ALLES, in his official capacity as Director of the
 United States Secret Service; and JOHN DOE, Secret
 Service Agent,

                Defendants.



           DECLARATION OF THEODORE J. BOUTROUS, JR. IN SUPPORT OF
           PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER
                         AND PRELIMINARY INJUNCTION

I, THEODORE J. BOUTROUS, JR., hereby declare under penalty of perjury the following:

          1.   My name is Theodore J. Boutrous, Jr. I am a partner with the law firm of Gibson,

Dunn & Crutcher LLP and a member of the bar of this Court. I represent Plaintiffs Cable News

Network, Inc. (“CNN”) and Abilio James Acosta (“Jim Acosta”) in the above-captioned action.

By virtue of my direct involvement in this matter, I have personal knowledge of the content of

this declaration, and I could and would competently testify to the truth of the matters stated

herein.
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       2.      Attached as Exhibit 1 is a true and correct copy of an article by Brian Stelter of

CNN entitled “Donald Trump: I won’t kick reporters out of White House press briefing room,”

dated June 14, 2016, available at https://money.cnn.com/2016/06/14/media/donald-trump-press-

credentials-access/index.html.

       3.      Attached as Exhibit 2 is a true and correct copy of an article by Jim Rutenberg of

The New York Times entitled “In Revoking Press Credentials, Trump Casts Himself as Punisher

in Chief,” dated June 14, 2016, available at

https://www.nytimes.com/2016/06/15/business/media/donald-trump-washington-post.html.

       4.      Attached as Exhibit 3 is a true and correct copy of an article by Michael M.

Grynbaum of The New York Times entitled “Donald Trump’s News Session Starts War With and

Within Media,” dated January 11, 2017, available at

https://www.nytimes.com/2017/01/11/business/media/donald-trump-buzzfeed-cnn.html.

       5.      Attached as Exhibit 4 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated January 24, 2017 at 9:16 p.m., available at

https://twitter.com/realdonaldtrump/status/824078417213747200?lang=en.

       6.      Attached as Exhibit 5 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated February 15, 2017 at 6:40 a.m., available at

https://twitter.com/realdonaldtrump/status/831830548565852160?lang=en.

       7.      Attached as Exhibit 6 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated February 17, 2017 at 4:48 p.m., available at

https://twitter.com/realDonaldTrump/status/832708293516632065.

       8.      Attached as Exhibit 7 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated July 2, 2017 at 9:21 a.m., available at




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https://twitter.com/realDonaldTrump/status/881503147168071680. Embedded in the Tweet is

video depicting President Trump tackling and punching a man with a CNN logo superimposed

on the man’s face.

       9.     Attached as Exhibit 8 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated November 15, 2017 at 5:45 a.m., available at

https://twitter.com/realdonaldtrump/status/930748627642998784?lang=en.

       10.    Attached as Exhibit 9 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated November 29, 2017 at 6:49 a.m., available at

https://twitter.com/realDonaldTrump/status/935838073618870272.

       11.    Attached as Exhibit 10 is a true and correct copy of an article by Maggie

Haberman, Michael S. Schmidt, and Michael D. Shear of The New York Times entitled “Trump

Says He Fired Michael Flynn ʻBecause He Liedʼ to F.B.I.,” dated December 2, 2017, available at

https://www.nytimes.com/2017/12/02/us/politics/trump-michael-flynn.html.

       12.    Attached as Exhibit 11 is a true and correct copy of an article by Chas Danner of

New York Magazine entitled Did Trump Just Incriminate Himself by Saying He Knew Flynn

Lied to the FBI?,” dated December 3, 2017, available at

http://nymag.com/intelligencer/2017/12/did-trump-just-incriminate-himself-with-a-tweet-about-

flynn.html.

       13.    Attached as Exhibit 12 is a true and correct copy of an article by Kristen Welker

and Max Burman of NBC News entitled “Trump’s lawyer claims responsibility for president's

problematic tweet,” dated December 3, 2017, available at

https://www.nbcnews.com/politics/white-house/trump-s-lawyer-claims-responsibility-trump-s-

problematic-tweet-n826036.




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       14.     Attached as Exhibit 13 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated December 11, 2017 at 9:17 a.m., available at

https://twitter.com/realDonaldTrump/status/940223974985871360.

       15.     Attached as Exhibit 14 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated January 23, 2018 at 6:31 a.m., available at

https://twitter.com/realDonaldTrump/status/955764970590961665.

       16.     Attached as Exhibit 15 is a true and correct copy of an article by Louis Nelson of

Politico entitled “Trump claims he didn’t fire Comey over Russia investigation,” dated April 18,

2018, available at https://www.politico.com/story/2018/04/18/trump-fire-comey-russia-531538.

       17.     Attached as Exhibit 16 is a true and correct copy of an article published by CBS

News entitled “Lesley Stahl: Trump admitted mission to ‘discredit’ press,” dated May 23, 2018,

available at https://www.cbsnews.com/news/lesley-stahl-donald-trump-said-attacking-press-to-

discredit-negative-stories/.

       18.     Attached as Exhibit 17 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated June 2, 2018 at 12:46 p.m., available at

https://twitter.com/realdonaldtrump/status/1002954515941941249?lang=en.

       19.     Attached as Exhibit 18 is an article by Kevin Breuninger of CNBC entitled

“Trump says former Fox News exec Bill Shine joins White House staff,” dated July 5, 2018,

available at https://www.cnbc.com/2018/07/05/trump-says-former-fox-news-exec-bill-shine-

joins-white-house-staff.html.

       20.     Attached as Exhibit 19 is a true and correct copy of an article by Patrick Smith of

Buzzfeed News entitled “Trump Refused to Answer a Question from a CNN Reporter in a Press

Conference with Theresa May,” dated July 13, 2018, available at




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https://www.buzzfeed.com/patricksmith/trump-refused-to-answer-a-question-from-a-cnn-

reporter-in-a.

       21.       Attached as Exhibit 20 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated July 14, 2018 at 7:24 a.m., available at

https://twitter.com/realDonaldTrump/status/1018093807060045824.

       22.       Attached as Exhibit 21 is a true and correct copy of a Tweet by President Donald

J. Trump (@realDonaldTrump), dated August 2, 2018 at 7:04 a.m., available at

https://twitter.com/realdonaldtrump/status/1024974107337781248?lang=en.

       23.       Attached as Exhibit 22 is a true and correct copy of an article by Tamara Keith of

NPR entitled “Trump Revokes Clearance Of Ex-CIA Boss Brennan, Puts Other Critics On

Notice,” dated August 15, 2018, available at https://www.npr.org/2018/08/15/638988643/trump-

revokes-security-clearance-of-former-cia-head-puts-other-critics-on-notice.

       24.       Attached as Exhibit 23 is a true and correct copy of an article by Chris Cillizza of

CNN entitled “The 43 most staggering lines from Donald Trump’s Indiana speech,” dated

August 31, 2018, available at https://www.cnn.com/2018/08/31/politics/donald-trump-

evansville-speech/index.html.

       25.       Attached as Exhibit 24 is a true and correct copy of an article by Margaret

Sullivan of The Washington Post entitled “Dishing up lies while proclaiming the love of facts,

Trump and Sarah Sanders gaslight America,” dated October 4, 2018, available at

https://www.washingtonpost.com/lifestyle/style/dishing-up-lies-while-proclaiming-the-love-of-

facts-trump-and-sarah-sanders-gaslight-america/2018/10/04/c6505d62-c7cc-11e8-9b1c-

a90f1daae309_story.html?utm_term=.3cbb6e4cd3d7.




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       26.     Attached as Exhibit 25 is a true and correct copy of an article by Peter Baker and

Linda Qiu of The New York Times entitled “Inside What Even an Ally Calls Trump’s ‘Reality

Distortion Field,’’ dated October 31, 2018, available at

https://www.nytimes.com/2018/10/31/us/politics/fact-check-trump-distortion-campaign.html.

       27.     Attached as Exhibit 26 is a true and correct copy of an article by Glenn Kessler,

Salvador Rizzo, and Meg Kelly of The Washington Post entitled “President Trump has made

6,420 false or misleading claims over 649 days,” dated November 2, 2018, available at

https://www.washingtonpost.com/politics/2018/11/02/president-trump-has-made-false-or-

misleading-claims-over-days/?utm_term=.1d3e82044c2e.

       28.     Attached as Exhibit 27, contained on electronic media, is a true and correct copy

of video published by C-SPAN of President Donald J. Trump’s November 7, 2018 press

conference. The exchange between President Donald J. Trump and Jim Acosta can be viewed at

27:31 to 30:13.

       29.     Attached as Exhibit 28, contained on electronic media, is a true and correct copy

of video published by the Associated Press capturing the exchange between President Donald J.

Trump and Jim Acosta at President Donald J. Trump’s November 7, 2018 press conference.

       30.     Attached as Exhibit 29 is a true and correct copy of a Tweet by Jim Acosta

(@Acosta), dated November 7, 2018 at 7:46 p.m., available at

https://twitter.com/Acosta/status/1060332691143491584.

       31.     Attached as Exhibit 30 is a true and correct copy of a Tweet by White House

Press Secretary Sarah Sanders (@PressSec), dated November 7, 2018 at 7:48 p.m., available at

https://twitter.com/PressSec/status/1060333176252448768.




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       32.    Attached as Exhibit 31 is a true and correct copy of a Tweet by White House

Press Secretary Sarah Sanders (@PressSec), dated November 7, 2018 at 7:50 p.m., available at

https://twitter.com/PressSec/status/1060333619728801792.

       33.    Attached as Exhibit 32 is a true and correct copy of a Tweet by Rob Elgas of

ABC7 Chicago (@RobElgasABC7), dated November 7, 2018 at 7:50 p.m., available at

https://twitter.com/RobElgasABC7/status/1060333805989519360.

       34.    Attached as Exhibit 33 is a true and correct copy of a Tweet by Jim Acosta

(@Acosta), dated November 7, 2018 at 7:52 p.m., available at

https://twitter.com/Acosta/status/1060334166083059712. Embedded in this Tweet is a video

filmed by Jim Acosta in which Acosta relinquishes his “hard pass” to a Secret Service Agent.

       35.    Attached as Exhibit 34, contained on electronic media, is a true and correct copy

of the video embedded in Jim Acosta’s November, 7, 2018 7:52 p.m. Tweet (Exhibit 33) filmed

by Jim Acosta in which Acosta relinquishes his “hard pass” to a Secret Service Agent.

       36.    Attached as Exhibit 35 is a true and correct copy of a Tweet by Katie Rogers of

The New York Times (@KatieRogers), dated November 7, 2018 at 7:57 p.m., available at

https://twitter.com/katierogers/status/1060335490518474755.

       37.    Attached as Exhibit 36 is a true and correct copy of a Tweet by Jeff Mason of

Reuters (@jeffmason1), dated November 7, 2018 at 8:25 p.m., available at

https://twitter.com/jeffmason1/status/1060342568024711169.

       38.    Attached as Exhibit 37 is a true and correct copy of a Tweet by White House

Press Secretary Sarah Sanders (@PressSec), dated November 7, 2018, at 10:33 p.m., available at

https://twitter.com/PressSec/status/1060374680991883265. Embedded in this Tweet is a video




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purporting to capture the exchange between President Donald J. Trump and Jim Acosta at

President Donald J. Trump’s November 7, 2018 press conference.

       39.    Attached as Exhibit 38, contained on electronic media, is a true and correct copy

of the video embedded in Press Secretary Sarah Sanders’s November 7, 2018 10:33 p.m. Tweet

(Exhibit 37) purporting to capture the exchange between President Donald J. Trump and Jim

Acosta at President Donald J. Trump’s November 7, 2018 press conference.

       40.    Attached as Exhibit 39 is a true and correct copy of a Tweet by Rafael Shimunov

(@rafaelshimunov), dated November 8, 2018 at 3:34 a.m., available at

https://twitter.com/rafaelshimunov/status/1060450557817708544.

       41.    Attached as Exhibit 40 is a true and correct copy of an article by Molly Roberts

of The Washington Post entitled “Sarah Sanders’s diabolically clever attack on Jim Acosta,”

dated November 8, 2018, available at https://www.washingtonpost.com/blogs/post-

partisan/wp/2018/11/08/sarah-sanderss-diabolically-clever-attack-on-jim-

acosta/?utm_term=.c98bc77d04fd.

       42.    Attached as Exhibit 41 is a true and correct copy of two Tweets by the White

House News Photographers Association (@whnpa), dated November 8, 2018 at 4:57 p.m.,

available at https://twitter.com/whnpa/status/1060652598607405056.

       43.    Attached as Exhibit 42 is a true and correct copy of an article by Oliver Darcy of

CNN Business entitled “White House press secretary tweets misleading video from InfoWars

personality to justify revoking CNN reporter’s credentials,” dated November 8, 2018, available

at https://www.cnn.com/2018/11/08/media/sarah-sanders-jim-acosta-infowars-video/index.html.

       44.    Attached as Exhibit 43 is a true and correct copy of an article by David Bauder

and Calvin Woodward of the Associated Press entitled “Expert: Acosta video distributed by




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White House was doctored,” dated November 8, 2018, available at

https://www.apnews.com/c575bd1cc3b1456cb3057ef670c7fe2a.

       45.    Attached as Exhibit 44 is a true and correct copy of an article by Drew Harwell of

The Washington Post entitled “White House Shares Doctored Video to Support Punishment of

Journalist Jim Acosta,” dated November 8, 2018, available at

https://www.washingtonpost.com/technology/2018/11/08/white-house-shares-doctored-video-

support-punishment-journalist-jim-acosta/?utm_term=.9f8e9b4858a2.

       46.    Attached as Exhibit 45 is a true and correct copy of a letter from Jeff Zucker of

CNN to President Donald J. Trump’s Chief of Staff, John F. Kelly, dated November 8, 2018.

       47.    Attached as Exhibit 46 is a true and correct copy of an article by Christopher

Brito of CBS News entitled “White House accused of sharing ‘doctored’ video of CNN reporter,

intern exchange,” dated November 8, 2018, available at https://www.cbsnews.com/news/jim-

acosta-sarah-sanders-cnn-reporter-white-house-intern-video-doctored/.

       48.    Attached as Exhibit 47 is a true and correct copy of an article by Brian Stelter of

CNN entitled “Reporters condemn White House decision to bar CNN’s Acosta,” dated

November 8, 2018, available at https://www.cnn.com/2018/11/08/media/trump-acosta-press-

pass-reaction/index.html.

       49.    Attached as Exhibit 48 is a true and correct copy of an article by Michael M.

Grynbaum and Elizabeth Williamson of The New York Times entitled “Trump Administration

Uses Misleading Video to Justify Barring of CNN’s Jim Acosta,” dated November 8, 2018,

available at https://www.nytimes.com/2018/11/08/business/media/infowars-white-house-jim-

acosta-cnn.html.




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       50.     Attached as Exhibit 49 is a true and correct copy of an article by Tom Embury-

Dennis of The Independent entitled “Jim Acosta: White House shares apparently doctored video

posted by conspiracy site InfoWars to justify suspending CNN reporter’s press pass,” dated

November 8, 2018, available at https://www.independent.co.uk/news/world/americas/jim-acosta-

trump-cnn-press-conference-pass-white-house-infowars-sarah-sanders-a8623441.html.

       51.     Attached as Exhibit 50 is a true and correct copy of an article by Paul Farhi of

The Washington Post entitled “Sarah Sanders promotes an altered video of CNN reporter,

sparking allegations of visual propaganda,” dated November 8, 2018, available at

https://www.washingtonpost.com/lifestyle/style/sarah-sanders-promotes-an-altered-video-of-

cnn-reporter-sparking-allegations-of-visual-propaganda/2018/11/08/33210126-e375-11e8-b759-

3d88a5ce9e19_story.html?utm_term=.973c04a31292.

       52.     Attached as Exhibit 51 is a true and correct copy of a briefing statement

published by the White House entitled “Remarks by President Trump Before Marine One

Departure,” dated November 9, 2018, available at https://www.whitehouse.gov/briefings-

statements/remarks-president-trump-marine-one-departure-23/.

       53.     Attached as Exhibit 52 is a true and correct copy of an article by Brent D.

Griffiths of Politico entitled “Conway: White House didn’t alter video of Jim Acosta,” dated

November 11, 2018, available at https://www.politico.com/story/2018/11/11/acosta-video-

kellyanne-conway-982951.

       54.     Attached as Exhibit 53 is a true and correct copy of press credentials issued by

the French government to Jim Acosta in connection with President Donald J. Trump’s November

11, 2018 visit to Paris, France.




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       55.    Attached as Exhibit 54 is a true and correct copy of an article by Ayesha Rascoe

of Reuters entitled “White House bars some news organizations from briefing,” dated February

24, 2017, available at https://www.reuters.com/article/us-usa-trump-media-idUSKBN1632JG.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on this 13th day of November 2018 in Washington, D.C.


                                             ____________________________
                                             Theodore J. Boutrous, Jr.




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